  Case 4:01-cr-00008-CWR-FKB          Document 468     Filed 07/25/08   Page 1 of 7



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              EASTERN DIVISION

UNITED STATES OF AMERICA


VS.                                                  CRIMINAL NO. 4:01-cr-8-WHB


JAMES E. FRYE


                                OPINION AND ORDER

      This cause is before the Court on the Motion of Defendant,

James E. Frye (“Frye”) for New Trial Pursuant to the Federal Rules

of Criminal Procedure Rule 33 (“Motion for New Trial”).                               In

addition to filing his Motion for New Trial, Frye has filed a

motion seeking a thirty-day extension in which to supplement that

Motion.1          The   Court   has   considered      the   Motions,     Responses,

Rebuttals, attachments to the pleadings, as well as supporting and

opposing authorities, and finds that the Motion for New Trial

should be denied as untimely, and that the Motion to Supplement the

Motion for New Trial should be denied as moot.



             I.    Factual Background and Procedural History

          On February 23, 2001, Frye was charged with, inter alia,

conspiracy to commit carjacking in violation of 18 U.S.C. § 371;

carjacking, and aiding and abetting in carjacking that resulted in


      1
        As Frye is proceeding on his motions pro se, his
pleadings have been liberally construed. United States v.
Wilkes, 20 F.3d 651, 653 (5th Cir. 1994).
    Case 4:01-cr-00008-CWR-FKB   Document 468    Filed 07/25/08   Page 2 of 7



death in violation of 18 U.S.C. §§ 2 and 2119(3); using a firearm

during a crime of violence in violation of 18 U.S.C. § 924(c)(1);

and interstate transport of a stolen vehicle in violation of 18

U.S.C. § 2312.    Trial of Frye’s criminal case was conducted in two

phases, the guilt phase and the penalty phase.             The guilt phase,

which was tried beginning on January 31, 2005, through February 3,

2005, ended with the jury returning a verdict of guilty as to each

charge.    The case then proceeded to the penalty phase, which was

tried beginning on February 7, 2005, through February 10, 2005, at

the conclusion of which the jury declined to recommend the death

penalty.    The jury verdict was entered by the Clerk of Court on

February 18, 2005.

      On April 15, 2005, Frye was sentenced to life imprisonment on

the charge of carjacking resulting in death, and was sentenced to

a   37-month   term   of   imprisonment   on    the   conspiracy/interstate

transport of a stolen vehicle charges, and a 60-month term of

imprisonment for having used a firearm during a crime of violence.

Both Frye’s conviction and sentence were affirmed by the United

States Court of Appeals for the Fifth Circuit.            See United States

v. Frye, 489 F.3d 201 (5th Cir. 2007).

      On or about March 3, 2008, the subject Motion for New Trial

was filed by the Clerk of Court.      In addition to the Motion for New

Trial, Frye filed a Motion seeking a thirty-day extension in which

to supplement his Motion for New Trial and a “Certificate of


                                     2
    Case 4:01-cr-00008-CWR-FKB      Document 468    Filed 07/25/08    Page 3 of 7



Filing” in which he asserts, under penalty of perjury, that: “on

February 7, 2008 and February 12, 2008 I placed a copy of my Motion

for New Trial Pursuant to Federal Rules of Criminal Procedure 33

and My Motion for Leave to Supplement Motion for New Trial in the

Federal Prison’s Mailbox...” and that “[s]ince the pleadings have

not been filed by the District Court Clerks Office, they are being

resubmitted along with this affidavit to certify the timely filing

of the pleadings when submitted to prison authorities for mailing.”

See Certificate of Filing, [Docket No. 452], 1.2                     On March 21,

2008, the Clerk of Court docketed a second Motion for New Trial,

which     is   identical     to   the   original   motion,   except     that     the

certificate of service on this motion is dated February 14, 2008.

      The purported “newly discovered” evidence supporting Frye’s

Motion for New Trial are statements made by his co-defendant, Billy

D. Cooper (“Cooper”).         Frye alleges that he was not able to secure

these statements until after he was convicted and sentenced.

Cooper’s statements, which are presented in an affidavit, include,

among other things, that he never witnessed Frye harming or causing

injury to another person; he never witnessed Frye in possession of

a   firearm;    and   that    certain    statements   made    by     Frye   to   law

enforcement officers “do not accurately describe what actually took



      2
       The certificate of service attached to Frye’s Motion for
New Trial and Motion for Leave to Supplement Motion for New
Trial, that were filed on March 3, 2008, are dated February 7,
2008, and February 12, 2008, respectively.

                                          3
     Case 4:01-cr-00008-CWR-FKB     Document 468    Filed 07/25/08   Page 4 of 7



place” with regard to the crimes for which he was convicted, and

were actually the product of lies, threats, and intimidation on the

part of the officers.       See Supplemental Aff. [Docket No. 460], Ex.

A, Cooper Aff., ¶¶ 1-3, 23. According to Frye, Cooper’s statements

“directly contradict[] the government’s case in chief.”                   See Mot.

for New Trial, 6.       Frye further argues that as Cooper’s statements

establish that he, Frye, did not cause the deaths underlying the

crimes for which he was charged, he would not have been convicted

if Cooper had testified as to these                matters at trial.           The

Government opposes Frye’s motions on the grounds that they are

untimely and without merit.



                           II.     Legal Discussion

A.    Timeliness of the Motion for New Trial

       Under Rule 33 of the Federal Rules of Criminal Procedure, “the

court may vacate any judgment and grant a new trial if the interest

of justice so requires.”          FED. R. CRIM. P. 33(a).     A motion brought

pursuant to this Rule on the grounds of “newly discovered evidence

must be filed within 3 years after the verdict or finding of

guilty.”     Id. at (b)(1).        The 3-year period prescribed by Rule

33(b)(1)     is   not   jurisdictional,     but    is   considered    a    “claims

processing rule.”       See Everhart v. United States, 546 U.S. 12, 16

(2005).     Thus, a Rule 33 motion for new trial may be dismissed as

untimely, provided the government raises that objection in response


                                        4
  Case 4:01-cr-00008-CWR-FKB   Document 468   Filed 07/25/08   Page 5 of 7



to the motion.   Id. at 19 (explaining: “[C]laim-processing rules

... assure relief to a party properly raising them, but do not

compel the same result if the party forfeits them.... [W]here the

Government fail[s] to raise a defense of untimeliness until after

the District Court ha[s] reached the merits [of the motion], it

forfeit[s] that defense.”).

     In the present case, the docket shows that the jury returned

its verdict and finding of guilty on February 3, 2005.          See Docket

No. 339.   Under Rule 33(b)(1), Frye had three years thereafter, up

to and including February 4, 2008,3 to file a motion for seeking a

new trial on the grounds of newly discovered evidence.               Taking

Frye’s averments as true, the record shows that his Motion for New

Trial was not submitted to prison authorities for mailing until

February 7, 2008.    As such, it appears that Frye’s Motion for New

Trial is untimely.

     Frye, however, argues that the three-year period under Rule

33(b)(1) did not begin to run until February 18, 2005, the date on

which the jury verdict was entered on the docket.                The Court

disagrees.   First, under the plain language of Rule 33(b)(1), the

date for filing a motion for new trial on the grounds of newly

discovered evidence begins to run on the date on which the verdict



     3
        The 3-year period for filing a motion for new trial under
Rule 33(b)(1) expired on February 3, 2008. As February 3, 2008,
was a Sunday, the applicable filing date was extended to Monday,
February 4, 2008. See FED. R. CRIM. P. 45(a)(3).

                                   5
  Case 4:01-cr-00008-CWR-FKB    Document 468   Filed 07/25/08   Page 6 of 7



or finding of guilty is returned, and not the date on which the

verdict or finding of guilt is docketed by the Clerk of Court.            See

FED. R. CRIM. P. 33(b)(1).     Second, although Frye’s criminal trial

was extended after the guilty verdict was returned to allow further

proceedings before the jury on the issue of whether the death

penalty should be imposed, the jury’s subsequent decision on that

issue did not extend the period for filing a Rule 33 motion.              See

e.g. United States v. Hill, 177 F.3d 1251, 1253 (11th Cir. 1999)

(finding that decisions relating to sentencing do not effect the

running of the time periods set forth in Rule 33).

     For these reasons, the Court finds that Frye was required to

file his Motion for New Trial on or before February 4, 2008.                  As

the subject Motion was not filed until February 7, 2008, the Court

finds it is untimely and must be dismissed on that basis.                 The

Court additionally finds, as Frye’s Motion for New Trial must be

dismissed as untimely, his Motion for Leave to Supplement his

Motion for New Trial should be denied as moot.



                          III.    Conclusion

     For the foregoing reasons:

     IT IS THEREFORE ORDERED that Defendant’s Motions for New Trial

Pursuant to the Federal Rules of Criminal Procedure Rule 33 [Docket

Nos. 449, 457] are hereby denied.




                                    6
  Case 4:01-cr-00008-CWR-FKB   Document 468   Filed 07/25/08   Page 7 of 7



     IT IS FURTHER ORDERED that Defendant’s Motion for Leave of

Court Requesting 30 Day Extension to File Supplemental Issues on

Motion for New Trial [Docket No. 451] is hereby denied as moot.

    SO ORDERED this the 25th day of July, 2008.




                                       s/ William H. Barbour, Jr.
                                       UNITED STATES DISTRICT JUDGE




                                   7
